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 4

 5                     IN THE UNITED STATES DISTRICT COURT

 6                    FOR THE EASTERN DISTRICT OF CALIFORNIA

 7
                                         ) Case No.: CR.S. 14-206 JAM
 8   United States of America,           )
                                         ) STIPULATION & ORDER EXCLUDING TIME
 9              Plaintiff,               ) PURSUANT TO AGREEMENT TO DEFER
                                         ) PROSECUTION
10        vs.                            )
                                         )
11                                       )
     Richard O’Connell,                  )
12                                       )
                Defendant.
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15
          It is hereby stipulated and agreed between plaintiff, United
16
     States of America, by and through its counsel of record Jill Thomas,
17
     and defendant, Richard O’Connell by and through his undersigned
18
     counsel of record as follows:
19
          On October 5, 2015 the parties signed a formal agreement to defer
20
     prosecution of the indictment against Mr. O’Connell for a period of
21
     twelve months.   The agreement is attached hereto as Exhibit A.
22
          The Speedy Trial Act, 18 U.S.C. 3161, at subdivision (h)(2),
23
     excludes from computation of the time within which trial must commence
24
     “[a}ny period of delay during which prosecution is deferred by the
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     attorney for the Government pursuant to a written agreement with the
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     defendant, with the approval of the court, for the purpose of allowing
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     the defendant to demonstrate his good conduct.”
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 1        The parties agree and jointly request that the Court approve the

 2   agreement pursuant to 18 U.S.C. 3161(h)(2) so that time under the

 3   Speedy Trial Act may be excluded through October 4, 2016.

 4   The parties further stipulate and request that, in light of the

 5   agreement set forth herein, the Court vacate the status conference, as

 6   to this defendant only, presently scheduled for October 13, 2015, and

 7   set a control date of September 27, 2016 at 9:15 a.m.

 8
     Dated: October 5, 2015           Respectfully submitted,
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10

11
                                       __/s/ Shari Rusk___
                                       Shari Rusk
12                                     Attorney for Defendant
                                       Richard O’Connell
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14
                                       By: Jill Thomas________
15                                         Jill Thomas
                                       Assistant United States Attorney
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18
                                       ORDER

19

20
          The Court, having received, read and considered the deferred

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     prosecution agreement and the parties’ stipulation, hereby approves

22
     the deferred prosecution agreement and adopts the parties’ stipulation

23
     in its entirety as its order.    The Court orders the time from the date

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     of the deferred prosecution agreement, up to and including October 4,

25
     2016, shall be excluded from the computation of time within which the

26
     trial of this case must be commenced under the Speedy Trial Act,

27
     pursuant to 18 U.S.C. 3161(h)(2) [prosecution deferred by mutual

28
     agreement], and Local Code T1.    It is further ordered that the October




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 1   13, 2015 status conference shall be vacated as to defendant Richard

 2   O’Connell only.   A control date is set for September 27, 2016, at 9:15

 3   a.m.

 4   DATED: October 5, 2015

 5

 6                                     /s/ John A. Mendez
                                       Hon. Judge John A. Mendez
 7
                                      United States Magistrate Court
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